                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 UNITED STATES OF AMERICA                            )
                                                     )
                                                     )        Case No. 1:10-CR-158
 v.                                                  )
                                                     )        Chief Judge Curtis L. Collier
                                                     )
 MICHAEL TODD SIMS                                   )


                                              ORDER

        On March 14, 2011, Defendant filed a motion for a psychiatric and/or psychological

 examination (Court File No. 84). United States Magistrate Judge Susan K. Lee granted Defendant’s

 motion and ordered a mental health evaluation (Court File No. 90). The findings of the sealed

 forensic report show Defendant is not currently suffering from a mental disease or defect rendering

 him mentally incompetent to the extent he is unable to understand the nature and consequences of

 the proceedings filed against him or to properly assist in his defense, and he is competent to stand

 trial. Defendant has waived his right to a competency hearing (Court File No. 167).

        Based upon this information, Magistrate Judge Lee has submitted a Report and

 Recommendation (“R&R”), recommending this Court find Defendant competent to stand trial (Court

 File No. 173). Neither party filed an objection. Therefore, the Court ACCEPTS and ADOPTS

 Magistrate Judge Lee’s R&R (Court File No. 173), pursuant to 28 U.S.C. § 636(b)(1), and

 DETERMINES Defendant is competent to stand trial.



        SO ORDERED.

        ENTER:
                                               /s/



Case 1:10-cr-00158-CLC-SKL           Document 178        Filed 10/11/11      Page 1 of 2      PageID
                                           #: 459
                                   CURTIS L. COLLIER
                                   CHIEF UNITED STATES DISTRICT JUDGE




                                      2


Case 1:10-cr-00158-CLC-SKL   Document 178   Filed 10/11/11   Page 2 of 2   PageID
                                   #: 460
